Case 2:23-cr-01584-SPL Document 3-2 Filed 11

REDACTED STATEMENT OF PROBABLE CA

1/03/23 Page 1of5

USE

I, Jessica Lynn France, being first duly sworn, hereby dep

ose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

I. I am and have been employed as a Special A
Investigation (“FBI”) since February 2015. While employed as ar
responsible for investigating violations of federal criminal |

jurisdiction. As part of my duties as an FBI agent, I investigate cri

pent of the Federal Bureau of
1 FBI Special Agent, I have been
aws over which the FBI has

minal violations relating to civil

rights threats including violations of hate crimes and interstate threat statutes. | have gained

experience through training at the FBI Academy, including training pertaining to civil rights

threats. As such, | am an investigative or law enforcement agent
under Title 18, United States Code, Section 3052, that is, an off
empowered by law to conduct investigations, to make arrests, an

violations of federal law.

of the United States authorized
icer of the United States who is

4 to collect evidence for various

2. I am currently assigned to the FBJ Phoenix Field Office’s public corruption and

civil rights squad. During my tenure with the FBI, I have particig
threats made using telephones and electronic media, to include
participated in all aspects of investigations including executing s¢

other things, the search and seizure of cellular phones, coms

vated in investigations involving
threats made via email. I have
arch warrants involving, among

buter equipment, software, and

electronically stored information. Through my experience and training, | have become familiar

with activities of individuals engaged in illegal activities, to inc

lude their techniques, methods,

language, and terms. During my career, my investigations have included the use of various

surveillance techniques and the execution of numerous search an

computers and cellular telephones, and arrest warrants.

d seizure warrants, including for

sooneipegemonmery:
Tibehsren cnr.

Case 2:23-cr-01584-SPL Document 3-2 Filed 11

3. The facts in this affidavit come from my persona
experience, and information obtained from other agents, witnesses
documents and records related to this investigation, and I have
have personal knowledge of the events and circumstances desc
intended to show merely that there is sufficient probable cause for
and arrest warrant. It does not set forth all of my knowledge, or
this matter.

4, Based on my training and experience and the fact
submit that there is probable cause to believe that Jeffrey N

committed a violation of 18 U.S.C. § 875(c), Interstate Threats.

PROBABLE CAUSE

5. The FBI is investigating threats made over intersta
a threatening email sent to Senior Rabbi A.G. (Victim 1), a rabb
Scottsdale, Arizona. The investigation concerns violations of,
Interstate Threats, involving threatening communications made v

6. On November 3, 2023, at approximately 8:42 AM

1/03/23 Page 2 of 5

| observations, my training and
:, and agencies. I have reviewed
communicated with others who
ribed herein. This Affidavit is
he requested criminal complaint

the knowledge of others, about

is as set forth in this Affidavit, |

Aindock (“MINDOCK”) has a

te communications, specifically
i at a local jewish synagogue in
inter alia, 18 U.S.C. § 875(c),
ja email on November 3, 2023.

f, Victim | received an email at

Redacted
of the email read: “HITLER WAS RIGHT RABBI Redacted (C
capitalization in the original. The body of the email stated:

Redacted

As | have watched the atrocities unfolding in Palestine, | have come
are to blame for everything evil in this world. Zionist Jews control

banks to the media.

, from sender Jeffrey Mindock at email jdjeff@proton.me. The Subject Line

ase #23150[XXXX]),” with the

to the realization that YOU people

everything from the courts to the

Case 2:23-cr-01584-SPL Document 3-2 Filed 11/03/23 Page 3 of 5

We both know that you are in control. | am giving you until midnight tonight to convince your servant,

Utah Fifth District Court Judge [judge’s last name] (Case # 23150[XXXxX]) to drop the charges against

me. If you do not use your influence to right this wrong | will execute you and every other JEW | can

find tonight at midnight of your Sabbath.

If you wish to communicate with me further, | will only meet in person. 1958 E Greenway Dr. in Tempe,

Arizona.

Shalom,

Viktor Sitkeviez

Sent with Proton Mail secure email.

7. On November 3, 2023, the affiant emailed Prot

on Mail support for an exigent

request; however, a response was received indicating the inquiry may not be resolved for 24 hours.

I know based on my training and experience, and discussions with other agents, that an email

address ending in “@proton.me” would be an email address hosted by Proton Mail, a company

headquartered in Geneva, Switzerland, who according to their public website has a primary data

center in Zurich, Switzerland and that hosts its servers in Switzer!

and. Therefore, there is probable

cause that the Proton Mail email address used by Mindock here caused the message to be

transmitted in interstate or foreign commerce,
8, Queries of Arizona Motor Vehicle Division identi
located at 1958 E Greenway Dr, Tempe, Arizona, with a date of t
9, A Maricopa County Sheriffs Office (MSCO)

revealed Jeffrey Victor Mindock using, sitkevicz966@prot

fied Jeffrey V Mindock as being
dirth in July XX, 1973.
report dated August 16, 2023,

on.me, emailed a threatening

communication to Attorney M.B. and Utah courts, addressed to

Judge of the Utah State Courts. The email read: Race TRAITOR
3

Judge J.W., Fifth District Court

Judge” [judge’s full name] will

Case 2:23-cr-01584-SPL Document 3-2 Filed 11

die. ] want the court to schedule a hearing/execution date where 1

“Judge” [judge’s full name] for his crimes against his own race. H

in persecuting me with this injunction. He wil! hang from the gall

Utah today if you would like to meet. “Judge” [judge’s last nam

1/03/23 Page 4o0f5

will execute Zionist sympathizer
> had decided to aid the israelites
ows for this crime. M.[], ] am in

e], if you would like to discuss

alternatives to your death you can contact me in writing: 1958 E. Greenway Dr. Tempe, AZ 85282,

signed Jeffrey Mindock, sent with Proton Mail secure email. M

provided several email addresses used by Mindock,
sitkevicz966@proton.me and jdmindock@proton.me.

10. | FBI database research conducted on Mindock
conducted in October 2021, wherein Mindock threatened to kill J
indicated he had enough guns, ammunition and explosives to kill
“he knew how to make bombs.” Tempe Police Department arre
2021. During Mindock’s first court appearance, Mindock thre
stating, “he was going to execute [Victim 2 and 3], if [Victim
claimed to be a sovereign citizen and that Ted Kaczynski was his

1, FBI database research conducted on Mindock alsa

in

aricopa County Sheriff’s Office

cluding but not limited to
revealed an FBI investigation
H. (Victim 2) and that Mindock
ten swat teams. Mindock stated,
sted Mindock on November 18,
atened Judge M.B. (Victim 3),
B] ruled against him.” Mindock

hero.

revealed a complaint generated

in August 2020, wherein Mindock stated that his neighbor, Victim 1, was weaponizing the police

against Mindock. Mindock stated that he will not comply with t
police coming to his house. Mindock stated that if the police com,
go quietly, and that the police may have to shoot him. Mindock
for him.” Mindock believes the police are threatening his life an

gun.

he police, and he is tired of the
e to his house, he is not going to

stated, “it is going to end badly

id stated that he always carries a

Case 2:23-cr-01584-SPL Document 3-2 Filed 11/03/23 Page 5of5

12. Since approximately 2020, Mindock has | been emailing — threatening
communications via Proton Mail, which is known as a private ethail service owned by a foreign
entity. Some of the email addresses used by Mindock include but are not limited to
sitkevicz966@proton.me and jdmindock(@proton.me. Mindock voluntarily provided his Tempe,
Arizona, residence location within the threatening emails and also used his alias name Vicktor
Sitkevicz. Mindock’s threatening communications have targeted an Arizona Rabbi leader, a Utah

State District Court Judge and an individual within the Arizona community. The email

communication threats made by Mindock contain language that Mindock will execute, hang and

kill these individuals.

CONCLUSION

13. For these reasons, | submit that there is probable caluse to believe that on November

3, 2023, Mindock did knowingly transmit in interstate and foreign commerce, with intent to
threaten, an email communication message containing threats to injure and kill (Victim 1), a local
Jewish leader from Scottsdale, Arizona, and others, including “every other JEW I can find tonight
at midnight of your Sabbath”, in violation of 18 U.S.C. § 875(c), Interstate Threats.

Respectfully submitted,

Dnae F-
Jessica France

Special Agent

Federal Bureau of Investigation

Subscribed and sworn to me oY ally
on N fVvelnber/13, 2023 nt 7

hawk]

HONORABLE DEBORAH MAINE -
United States Magistrate Judge

LA
